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    15
                               UNITED STATES DISTRICT COURT
    16
                              CENTRAL DISTRICT OF CALIFORNIA
    17
                                                        )   Case No.: 2:20-cv-02303-CBM-MAA
    18
          CHRIS HASHEM, individually and                )
                                                        )
    19    on behalf of all others similarly situated,       (Consolidated with Case No. 2:20-cv-
                                                        )
                                                        )   02895-CBM-MAA)
    20
                              Plaintiff,                )
    21                                                  )   DEFENDANT B.R. SHETTY’S
                v.                                      )   REPLY BRIEF IN SUPPORT OF
    22                                                  )   MOTION TO DISMISS
                                                        )
    23    NMC HEALTH PLC, PRASANTH
                                                        )
          MANGHAT, KHALIFA BIN BUTTI,                   )   Date: September 28, 2021
    24
          PRASHANTH SHENOY, H.J. MARK                   )   Time: 10:00AM
    25    TOMPKINS, and B.R. SHETTY,                    )   Place: Courtroom
    26
                              Defendants.
    27

    28



         REPLY IN SUPPORT OF MOT. TO DISMISS OF DEFENDANT B.R. SHETTY,
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    1                                            INTRODUCTION1
    2             Plaintiffs do not address their failure to plead with particularity contemporaneous
    3    facts identifying the who, what, when, where, and how of any alleged fraud. Instead,
    4    Plaintiffs fabricate omissions, recast group statements as specific ones attributable to
    5    Shetty, and impermissibly introduce new facts and legal theories alleged nowhere in
    6    the Amended Complaint. The implausible theory Plaintiffs now advance—that, after
    7    founding NMC in the 1970s, and over the next 45 years growing NMC from a single
    8    clinic into the “largest private healthcare provider in the United Arab Emirates” (¶25
    9    n.3; RJN, Ex. 5, p.15), that Shetty orchestrated a multi-billion dollar fraud to “loot[]”
    10   NMC’s treasury (Op.14)—has no basis in fact, logic, or common sense and fails to
    11   plead a strong inference of scienter.2
    12            In addition, Plaintiffs’ extensive use of footnotes with multiple citations to law
    13   and argument violates Local Rule 11-6 and Section 7(c) of this Court’s Standing Order,
    14   as it is an improper attempt to evade this Court’s 25-page briefing limitation. See e.g.,
    15   Op.4 n.3, 11-12 n.6, 13 n.7, 20 n.8, 23 n.9, 24 n.10; and see Caldera v. J.M. Smucker
    16   Co., 2013 WL 6987893, at *1 (C.D. Cal. Oct. 4, 2013) (striking brief for “use [of]
    17   textual footnotes to evade page limits”). Also, contrary to Plaintiffs’ assertion (Op.1
    18   n.2), on a motion to dismiss documents referenced in the Amended Complaint may be
    19   considered for truth of the matter asserted. See Mendoza v. HF Foods Group, Inc.,
    20   2021 WL 3772850, at *2 (C.D. Cal. Aug. 25, 2021).
    21            As such, Plaintiffs’ oversized opposition should be stricken and Shetty’s motion
    22   to dismiss granted, on the merits, with prejudice.
    23

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         1
             Defined terms shall have the same meaning as in Shetty’s Motion to Dismiss, cited as (“Br.”).
    26
         2
           Plaintiffs’ Memorandum of Points and Authorities in Opposition to Defendant B.R. Shetty’s Motion
    27   to Dismiss is cited as (“Op.”). References to (“¶” or “¶¶”) are to Plaintiffs’ Amended Complaint, and
    28
         references to (“RJN”) are to Shetty’s first Request for Judicial Notice and Incorporation by Reference
         (ECF 70-6) and second Request for Judicial Notice and Incorporation by Reference filed herewith.
                                                            1
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    1                                             ARGUMENT
    2        I.      Plaintiffs Do Not Allege A Domestic Transaction
    3             Plaintiffs do not contest that the OTC market is not a domestic exchange, and
    4    their failure to satisfy the Ninth Circuit’s “irrevocable liability test” is fatal to the
    5    Amended Complaint. Op.8-10; Br.4-6; see Morrison v. Nat’l Australia Bank, 561 U.S.
    6    247, 268 (2010) (The Exchange Act “appl[ies] only [to] transactions listed on domestic
    7    exchanges and domestic transactions in other securities.”).
    8             Plaintiffs’ allegation that they “purchased their NMC ADS shares in the United
    9    States on the OTC Pink trading venue,” mirrors the allegation found deficient in Stoyas
    10   v. Toshiba Corp., 896 F.3d 933 (9th Cir. 2018) (“Toshiba I”). Br.5; ¶9. See Toshiba I,
    11   896 F.3d at 949 (finding allegations that “Toshiba ADRs were purchased in the United
    12   States” and that “Bank of New York, one of the depositary institutions, sold Toshiba
    13   ADRs in the United States” failed to plead “specific factual allegations,” such as “who
    14   sold the relevant securities and how those transactions were effectuated, as evidenced
    15   by documentation such as confirmation slips”).
    16            Furthermore, Plaintiffs blatantly mischaracterize Stoyas v. Toshiba Corp., 424
    17   F.Supp.3d 821 (C.D. Cal. 2020) (“Toshiba II”) in an effort to hide the deficiencies in
    18   the Amended Complaint. Op.9:4-17. In Toshiba II, the plaintiff included particularized
    19   facts alleging precisely how its Toshiba ADRs were purchased, e.g., from which
    20   specific depositary institution the ADRs were purchased (Citibank), the trade
    21   confirmation process, the source of the funds used to purchase the ADRs, the chain of
    22   title establishing that the plaintiff’s ADRs were recorded on Citibank’s transfer books
    23   maintained in New York, and when the plaintiff’s ADRs were purchased.3 Toshiba II,
    24   424 F.Supp.3d at 826. The Amended Complaint bears little resemblance to the
    25   complaint in Toshiba II. Compare RJN, Ex. 7 (¶¶20-23), with ¶¶5-6, 9; Op.10:7-23.
    26
         3
          See Stoyas v. Toshiba Corp., No. 2:15-cv-04194-DDP(JCx) (C.D. Cal.) (ECF 75), ¶¶20-23. A copy
    27   of the Toshiba II complaint is attached as Exhibit 7 to the RJN. See Reyn’s Pasta Bella, LLC v. Visa
    28
         USA, Inc., 442 F.3d 741, 746 n.6 (9th Cir. 2006) (A “court may take judicial notice of court filings
         and other matters of public record.”).
                                                            2
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    1             In yet another attempt to save the deficient Amended Complaint from dismissal,
    2    Plaintiffs rely on general allegations, introduce new facts not set forth in the Amended
    3    Complaint regarding the OTC market, and now baselessly assert that Plaintiffs “were
    4    bound to complete the transaction in the United States.” Op.9:21-10:6, 10:18-19.
    5    General statements about the OTC market do not satisfy Toshiba I’s mandate to plead
    6    “specific factual allegations.” See Toshiba I, 896 F.3d at 949. And Plaintiffs cannot
    7    rely on extraneous facts to defeat Shetty’s motion to dismiss, regardless of their import.
    8    Fabbrini v. City of Dunsmuir, 544 F.Supp.2d 1044, 1050 (E.D. Cal. 2008) (“It is
    9    axiomatic that the complaint may not be amended by the briefs in opposition to a
    10   motion to dismiss.”).
    11      II.      Plaintiffs Do Not Plead Falsity With Particularity
    12            Plaintiffs argue that the falsity of forty-three group allegations (¶¶26-68) are
    13   “specifically explain[ed]” by one general allegation containing eight subparts (¶69).
    14   Op.11:16-18. While Plaintiffs contend “[t]hat is all that is required to plead falsity”
    15   (id.), Plaintiffs misstate the law. Br.9-11. The PSLRA and Federal Rule 9(b) require
    16   “particularized explanation[s] stating why the defendant’s alleged statements or
    17   omissions are deceitful.” Metzler Inv. GMBH v. Corinthian College, Inc., 540 F.3d
    18   1049, 1061 (9th Cir. 2008); 15 U.S.C. §78u-4(b)(1)(B).
    19            In addition, Plaintiffs’ new theory that NMC’s financial statements did not
    20   comply with GAAP should be disregarded. Op.13:8-14:14, 19-21. As noted above,
    21   courts cannot “take into account additional facts asserted in a memorandum opposing
    22   [a] motion to dismiss.” In re Turbodyne Tech., Inc. Sec. Litig., 2000 WL 33961193, at
    23   *10 (C.D. Cal. Mar. 15, 2000). And, with respect to this specific allegation—as
    24   Plaintiffs readily admit—NMC’s financial statements were “prepared in accordance
    25   with the International Financial Reporting Standards, as adopted by the EU,” not
    26   GAAP. ¶34.        Plaintiffs fail to explain why GAAP has any relevance to a foreign
    27   company with no reporting requirements in the United States. Similarly, Plaintiffs’
    28   vague reference to a transaction they label the “Aspen acquisition” falls well short of
                                                     3
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    1    the PSLRA’s requirement to plead particularized facts. ¶¶77; Op.3:17-18. Plaintiffs
    2    plead no particularized facts explaining the acquisition or its materiality.
    3          As to Shetty, Plaintiffs attempt to skirt the PSLRA’s prohibition against group
    4    pleading by improperly recasting group statements into individual statements by
    5    Shetty. Op.13-14, 16; Br.10-11. For example, the Amended Complaint cites to the
    6    “Directors’ statements” in NMC’s 2015 annual report stating “to the best of [their]
    7    knowledge” NMC’s directors believed that NMC’s financial statements complied with
    8    EU accounting regulations. See e.g., ¶34; Op.16; RJN, Ex. 4, p.87. This group
    9    statement was signed by non-party Simon Watkins, not, as Plaintiffs argue, Shetty.
    10   RJN, Ex. 4, pp. 85, 89; Gonzalez v. Planned Parenthood of Los Angeles, 759 F.3d 1112,
    11   1115 (9th Cir. 2014) (courts “need not…accept as true allegations that contradict
    12   matters properly subject to judicial notice or by exhibit”). Plaintiffs’ reliance on
    13   Howard v. Everex Systems, Inc., 228 F.3d 1057 (9th Cir. 2000) on this point is
    14   inapposite. Op.16. In Howard, the court held that when “a corporate officer signs a
    15   document on behalf of the corporation” liability may attach to the signing officer, which
    16   in the case of the statements Plaintiffs cite in their opposition was non-party Simon
    17   Watkins, not Shetty. Howard, 228 F.3d at 1061.
    18      III.   Plaintiffs Plead No Actionable Omissions
    19         Plaintiffs argue that NMC’s 2015-2018 annual reports “each concealed related
    20   party transactions,” but they only reference two allegedly concealed transactions: (1)
    21   NMC’s 2018 acquisition of 70% of CosmeSurge for $170 million; and (2) NMC’s 2014
    22   pre-Class Period construction of the NMC Royal Women’s Hospital. Op.4. Plaintiffs
    23   place particular emphasis on the CosmeSurge transaction. Op.4, 12, 14-15.             As
    24   discussed below, both transactions were transparently disclosed.
    25         A. CosmeSurge Acquisition
    26         In its 2018 annual report NMC disclosed that it “agreed to acquire [a] 70%
    27   controlling stake of CosmeSurge Aesthetic and Wellness from a related party who is
    28   also an executive director in the Company,” for “US$170m which has been fully paid
                                                     4
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    1    during the year and was determined based on valuation done by the management.” See
    2    RJN, Ex. 6, p. 148. This is the precise information that Plaintiffs erroneously argue
    3    “Shetty concealed” and “lie[d]” about (Op.4:6-12) and “render[ed] the 2018 Annual
    4    Report false and misleading” (Op.13:23-14:4). See Op.12:20-13:1 (“Defendants failed
    5    to disclose … that the Company paid $170 million to a Defendant K. Bin Butti
    6    company”). Plaintiffs boldly proclaim that the CosmeSurge acquisition is a “damning
    7    fact[]” that cannot be resolved until trial (Op.14:13-14), but this Court should reject
    8    Plaintiffs’ fabrication and baseless rhetoric. See Steckman v. Hart Brewing Inc., 143
    9    F.3d 1293, 1295 (9th Cir. 1998) (courts are “not required to accept as true conclusory
    10   allegations which are contradicted by documents referred to in the complaint”).
    11         B. NMC Royal Women’s Hospital
    12         NMC’s pre-Class Period construction of NMC Royal Women’s Hospital (f/k/a
    13   Brightpoint Royal Women’s Hospital) is neither material nor relevant. Op.4 n.3, 13;
    14   Br.12. Plaintiffs do not dispute that pre-Class Period transactions cannot serve as a
    15   basis for liability. Br.12:1-19. Moreover, the construction costs for the hospital were
    16   fully disclosed in NMC’s 2014 annual report. See RJN, Ex. 8, p. 24. Plaintiffs’
    17   accusation that the construction costs were concealed from NMC’s 2015 annual report
    18   is another false assertion. Op.4 n.3, 13 n.7. NMC did disclose the construction costs
    19   for NMC Royal Women’s Hospital in its 2015 annual report. See RJN, Ex. 4, p.26.
    20      IV.   Plaintiffs Do Not Plead Actionable Misrepresentations
    21            A. No Particularized Facts About NMC’s Financial Statements
    22         Plaintiffs alternate between arguing that Shetty individually (Op.3), or
    23   Defendants as a group (Op.11-12), are responsible for “significantly underreport[ing]
    24   … debt obligations” in NMC’s 2015-2018 annual reports, but do not cite any
    25   contemporaneous or inconsistent facts to support this conclusory assertion. Op.11;
    26   Br.9-10. Plaintiffs cite a headline from a March 2020 news article titled “NMC Heath
    27   Discovers Almost $3bn of Debt Hidden from Its Board,” but this title is not a
    28   particularized allegation as to NMC’s 2015-2018 annual reports. Op.11; ¶92. Plaintiffs
                                                     5
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     1   make the inferential leap that this headline relates to NMC’s 2015-2018 annual reports,
     2   but inferential leaps are not particularized statements of fact. See In re Northpoint
     3   Communications Group, Inc. Sec. Litig., 184 F.Supp.2d 991, 1005 (N.D. Cal. 2001)
     4   (The “PSLRA clearly establishes a preference for facts over … inferential leaps.”);
     5   Br.9. Plaintiffs argue that alleged lease expenses not included in NMC’s 2018 annual
     6   report issued on March 6, 2019, but fully disclosed three months later in June 2019
     7   (¶¶55, 77), constitutes securities fraud. Op.3:18-27. The law in this regard is clear:
     8   “Mere allegations that statements in one report should have been in an earlier report do
     9   not make out a claim of securities fraud,” nor are they “admission[s]” of wrongdoing.
    10   See In re Yahoo! Inc. Sec. Litig., 2012 WL 3282819, at *13 (N.D. Cal. Aug. 10, 2012).
    11              B. No Actionable Facts Regarding NMC’s Internal Controls
    12           Plaintiffs cite no particularized facts to support their argument that NMC lacked
    13   internal controls during the Class Period. Op.4, 14-15; Br.12, 15-16. Moreover,
    14   Plaintiffs’ internal control argument rest on the demonstrably erroneous assertion that
    15   NMC concealed the CosmeSurge acquisition, and non-particularized allegations that
    16   NMC allegedly underreported its debt, which, as discussed above, do not support a
    17   claim for securities fraud. See supra pp.4-6.
    18      V.      Plaintiffs Fail To Plead Scienter
    19           Plaintiffs’ scienter argument bears no resemblance to the Amended Complaint,
    20   which consists of two group allegations that Plaintiffs make no attempt to defend.
    21   Op.18-23; ¶¶109-110; Br.13-17. Plaintiffs argue that scienter can be plead with
    22   allegations of “deliberate recklessness” (Op.18:3-4), but cite no “specific facts…that
    23   strongly suggests actual intent” to commit fraud. In re Silicon Graphics Inc. Sec. Litig.,
    24   183 F.3d 970, 974 (9th Cir. 1999); Br.15. To salvage the Amended Complaint,
    25   Plaintiffs mischaracterize as a purported admission a post-Class Period April 2020
    26   article (the “Article”) reporting on a probe Shetty commissioned to investigate fraud
    27   within NMC. Op.18-19; ¶25 n.3. In the Article, Shetty is quoted as follows:
    28

                                                     6
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     1         The preliminary findings provided by my advisors from my own
     2         investigations indicate that serious fraud and wrongdoing appears to have
     3         taken place at NMC, Finablr PLC (‘Finablr’), as well as within some of
     4         my private companies, and against me personally. This fraud also appears
     5         to have been undertaken by a small group of current and former executives
     6         at these companies.
     7   ¶25, n. 3. Plaintiffs’ scienter theory is that Shetty’s investigation, public statement, and
     8   decision to “share[] information and evidence from [his] findings with …relevant law
     9   enforcement and regulatory authorities” (id.), supports a strong inference that Shetty is
    10   “responsible for such fraud” and had “actual knowledge of the fraudulent scheme at the
    11   same time he made misrepresentations to public investors.” Op.19:12-21.
    12         Plaintiffs’ implausible theory “has no basis in logic or common sense” and fails
    13   to plead a strong inference of scienter. Nguyen v. Endologix, Inc., 962 F.3d 405, 408
    14   (9th Cir. 2020). Perpetrators of a fraud do not issue public pronouncements stating that
    15   a fraud may have occurred, nor do they turn over evidence of fraud to law enforcement
    16   and regulatory authorities. See Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551 U.S.
    17   308, 324 (2007) (“an inference of scienter … must be cogent and compelling”).
    18         The more rational (and cogent and compelling) inference to be drawn from the
    19   Amended Complaint is that shortly after the Muddy Waters Report was published in
    20   December 2019 (¶70), Shetty—who formally retired from day-to-day duties in March
    21   2017 (RJN Ex. 5, p. 14), after relinquishing most meaningful duties years prior—
    22   stepped down as NMC’s Joint Non-Executive Chairman (¶84), and retained a team to
    23   investigate an alleged fraud within NMC of which, until then, he was unaware (¶25
    24   n.3). Shetty then made his preliminary findings public and turned over his investigative
    25   team’s report to “all relevant boards, as well as [to] relevant law enforcement and
    26   regulatory authorities.” ¶25 n.3. This inference, supported by common sense and
    27   contemporaneous documentary evidence, defeats Plaintiffs’ position that they have
    28   plead a “strong inference” of scienter. Tellabs, 551 U.S. at 314.
                                                     7
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     1         Unable to defend their scienter allegations, Plaintiffs present a battery of failed
     2   arguments, and rely on new facts entirely outside the Amended Complaint. First, the
     3   Article does not support an inference of contemporaneous actual knowledge by Shetty.
     4   See supra pp.7-8. Second, Plaintiffs attempt to invoke the “core operations doctrine,”
     5   but this doctrine has no application because: (1) Plaintiffs do not allege a “specific
     6   admission” of Shetty’s “involvement in the minutia” of NMC’s operations, nor do they
     7   allege witness accounts that Shetty had “actual involvement in creating false reports;”
     8   and, (2) the purported GAAP violations are irrelevant. Op.19:23-21:5; see supra p.4;
     9   see also Police Retirement Sys. of St. Louis v. Intuitive Surgical, Inc., 759 F.3d 1051,
    10   1062 (9th Cir. 2014). Therefore, this case does not fall into the “exceedingly rare
    11   category” where a plaintiff can avoid pleading scienter on an individualized basis.
    12   South Ferry LP, No. 2 v. Killinger, 542 F.3d 776, 785 n.3 (9th Cir. 2008); Br.14-16.
    13   Third, Plaintiffs’ reliance on Shetty’s stock sales fails because Plaintiffs do not allege
    14   any “meaningful trading history” by Shetty comparing pre and post-Class Period
    15   transactions. Zucco Partners, LLC v. Digimarc Corp., 552 F.3d 981, 1005 (9th Cir.
    16   2009); Op.21:16-24; Br.16:25-17:7. Fourth, Plaintiffs cite the resignations of Shetty
    17   and Defendant K. Bin Butti (Op.21:26-22:5), but where, as here, the director
    18   resignations are unaccompanied by particularized facts detailing their alleged roles in
    19   the purported fraud the resignations “cannot support a strong inference of scienter.”
    20   Zucco, 552 F.3d at 1002. As to Shetty, his actions subsequent to his February 2020
    21   resignation, including his internal investigation, and voluntary production of evidence
    22   to law enforcement renders his resignation, at best, a neutral factor. Finally, Plaintiffs
    23   patently mischaracterize an ex parte injunction issued by a court in the United Kingdom
    24   as an “adjudicat[ion]” of fraud against Shetty. Op.22:7-13. The allegations and
    25   evidence presented to the English judge are not before this Court, and Plaintiffs provide
    26   no facts about the ex parte proceeding, or whether the foreign standard for the ex parte
    27   proceeding comports with the PSLRA and Rule 9(b). Plaintiffs cannot escape their
    28   pleading deficiencies by pointing to an article discussing a foreign ex parte order,
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     1   issued by a foreign tribunal, under foreign legal standards. Reviewed holistically, the
     2   Amended Complaint fails to raise a strong inference of scienter.
     3      VI.    Plaintiffs Do Not Plead Reliance
     4         Plaintiffs cannot invoke the fraud-on-the-market presumption of reliance
     5   because they fail to plead with particularity that the OTC market is an “efficient
     6   market.” Br.18:9-20:19; In re Van Wagoner Funds, Inc. Sec. Litig., 382 F.Supp.2d
     7   1173, 1187-88 (N.D. Cal. 2004) (Fraud on the market reliance must be plead with
     8   “particular facts establishing an efficient market.”). Plaintiffs incorrectly contend that
     9   the Cammer factors are not relevant on a motion to dismiss. Op.22. Indeed, courts
    10   regularly dismiss securities fraud actions for failure to satisfy the Cammer factors, and
    11   in particular for failure to plead with particularity that the OTC market is an efficient
    12   market. See ScripsAmerica, Inc. v. Ironridge Global LLC, 119 F.Supp.3d 1213, 1252
    13   (C.D. Cal. 2015) (collecting cases holding that “as a matter of law … the OTC market
    14   is not efficient”). Plaintiffs conflate their burden to “pro[ve] … market efficiency” at
    15   trial, with their burden to plead an efficient market with particularity. Op.22:26-27.
    16         And, the Affiliated Ute presumption has no application because Plaintiffs
    17   primarily plead a misrepresentations case. Br. 17-18; ¶¶69, 100. As noted above, the
    18   alleged “concealed related party transactions” Plaintiffs argue entitle them to invoke
    19   this presumption were actually disclosed, and non-particularized statements of alleged
    20   “hidden debt” cannot form the basis of an omissions-based presumption of reliance.
    21   Op.23; see supra pp.5-7. Plaintiffs’ argument that “misrepresentations … relate back
    22   to key omissions” confirms that Plaintiffs plead a mixed misrepresentations/omissions
    23   case that does not qualify for the Affiliated Ute presumption. Op.23, Br.17-18.
    24      VII. Plaintiffs Do Not Plead Loss Causation
    25         Plaintiffs do not address Shetty’s loss causation argument, but merely double
    26   down on their flawed theory that loss causation can be plead simply by pointing to
    27   “stock price declines.” Op.24; Br.21-23. The Amended Complaint does not, as
    28   Plaintiffs argue, plead “gradual[] … multiple partial disclosures.” Op.23, n.9. Rather,
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     1   the “truth” Plaintiffs cite comes exclusively from the December 17, 2019 Muddy
     2   Waters Report. ¶¶70-78. Plaintiffs cannot plausibly claim that losses were caused by
     3   a report issued before they acquired a single NMC ADS. Op.23-24; Br.21.
     4      VIII. Plaintiffs Do Not Allege A Scheme
     5         Plaintiffs erroneously argue that Shetty does not challenge Plaintiffs’ “scheme”
     6   allegations. Op.24. As set forth in Shetty’s prior briefing, not only do Plaintiffs not
     7   allege a scheme, but Plaintiffs overlook their failure to plead scienter, reliance, and loss
     8   causation, all of which are necessary to plead securities fraud under Section 10(b) and
     9   Rule 10b-5, under any theory. Br.13-17 (scienter), 17-20 (reliance), and 20-23 (loss
    10   causation); see Desai v. Deutsche Bank Sec. Ltd., 573 F.3d 931, 939 (9th Cir. 2009).
    11      IX.    Plaintiffs Do Not Allege §20(a) Liability Against Shetty
    12         Plaintiffs cannot establish a securities fraud claim, and do not plead with
    13   particularity Shetty’s “actual power or control.” In re Volkswagen “Clean Diesel”
    14   Marketing, Sales Practices, and Products Liability Litigation, 258 F.3d 1037, 1048
    15   (N.D. Cal. 2017). Plaintiffs do not contest that Shetty formally “step[ped] down from
    16   day-to-day operational activities” in March 2017 (after relinquishing all meaningful
    17   duties years prior), and do not plead with particularity that Shetty prepared NMC’s
    18   financial statements. Br.24:9-25:23. Plaintiffs instead rely on NMC’s 2015 annual
    19   report, but fail to plead with particularity a single false or misleading statement from
    20   that report. Op.25. The absence of specific allegations that Shetty was “active in the
    21   day-to-day affairs” of NMC is fatal to Plaintiffs §20(a) claim. Id.
    22                                       CONCLUSION
    23         For the reasons set forth herein, the Court should grant Shetty’s motion to dismiss
    24   in its entirety with prejudice.
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